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     496                         ORDINANCES - EXECUTIVE DEPARTMENTS .



                                                   BUREAU OF PARKS .

      July 31, 1893, § 1.    1. There shall be and is hereby created a bureau to be known
        O. B. 9, 262.
                          as the " bureau of parks, " which bureau shall consist of one
     Bureau
     created. of parks superintendent whose compensation shall be two hundred dollars
                          per month, one superintendent, whose compensation shall be
                          one hundred and fifty dollars per month, and one assistant
     Officers and         superintendent whose compensation shall be one hundred
     employees ..
                          and twenty-five dollars per month, one clerk whose compensation
                          shall be eighty-three dollars and thirty-three cents per month,
                          and such foremen and laborers as may be required from
                          time to time, at the same pay as like labor in other departments
                          of the city (a).
        July 6, 1896.        2. WHEREAS, The control, maintenance, supervision and
         O. B. 11, 139 .
                          preservation of the public parks is by law vested in the depart-
     Preamble.            ment of public works ; and
                             WHEREAS, It is essential to proper exercise of these powers
     Preamble .           that persons should be employed as watchmen in the public
                          parks for the protection of the public property therein.
           Ibid $ 1.         3. Be it ordained, &c. , That the director of the department
     Watchmen com- of public works shall, and he is hereby authorized to employ
     pensation .          such watchmen as may be necessary for the properly caring for,
                          maintaining and protecting the public property in the public
                          parks of this city at the daily compensation of two dollars and
                          fifty cents each.
          Ibid. § 2.         4. The compensation of such watchmen shall be paid out of
                          appropriation No. 36, public parks.
      July 27, 1893. § 1.    5. Upon the passage and approval of this ordinance the
        O. B. 9, 260.
                          following rules and regulations shall be and are hereby established
     Rules adopted. for the management and protection of the parks and public
                          grounds of the city of Pittsburgh, to wit :
                             First. No person shall injure, deface or destroy any notices,
                            rules or regulations for the government of the parks, posted or
                            in any other manner permanently fixed by order of the chief of
                            department of public works.
                               Second. No person shall be allowed to turn any chickens,
                     ducks, geese or other fowls, or any eattle, goats, swine, horses
                     or other animals loose within the parks or to bring led horses
                     or a horse that is not harnessed and attached to a vehicle or
                    mounted by an equestrian.
                        Third. No person shall be allowed to carry firearms, or to
                     shoot or throw stones at or to set snares for birds, rabbits,
                     squirrels or fish, within the limits of the parks or within one
                    hundred yards thereof.

     12                 Fourth. No person shall cut, break, pluck or in anywise
                     injure or deface the trees, shrubs, plants, turf or any of the
                    buildings, fences, structures or statuary, or place or throw any-
                    thing whatever in any springs or streams within the parks, or
                     fasten a horse to a tree, bush or shrub.
     (a) As amended by ordinance of Nov. 23, 1893. O. B. 9, p . 320, and ordinance of March 31, 1896. O. B.
                                                  11, p. 40.
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      Fifth. No military or other parade or procession , or funeral July 27, 1893,
   shall take place in or pass through the limits of the parks with- Park rules.
   out permission from the chief of department of public works.
      Sixth.   No one shall ride or drive therein except on the
   avenues or roads, or at a rate of speed exceeding eight miles
   per hour.
      Seventh.  No gathering or meeting of any kind, assembled
   through advertisement, shall be permitted in the parks without
   previous permission of the chief of the department of public
   works, nor shall any gathering or meeting for political purposes
   in the park be permitted under any circumstances.
      Eighth. No wagon or vehicle of burden or traffic shall pass
   through the park, except on such road or avenue as shall be
   designated by the chief of the department of public works for
   burden transportation .
     Ninth. No coach or vehicle used for hire, shall stand upon
   any part of the parks for the purpose of hire, nor except in
   waiting for persons taken by it into the park, unless at points
   designated by the chief of the department of public works.
      Tenth. No profane, indecent, abusive or insulting language,
   gambling or drunkenness shall be allowed within the parks, nor
   shall any one be allowed to introduce any spirituous liquors
   within the limits of the same, either for his own use or for sale.
     Eleventh    No person shall climb any tree or attach any swing
   thereto, without the consent of the superintendent.
      Twelfth.   No picnic shall take place in the parks without a
   written permission for the purpose being obtained from the
   superintendent, in which shall be designated the spot where it
   shall be held, and parties holding picnics shall clean up the
   ground that has been occupied by them on quitting it, and not
   leave paper and other refuse on the ground.
      Thirteenth. No person shall disturb any picnic in the parks,
   or intrude himself or herself on it without the consent of those
   composing it.
      Fourteenth. No person shall stand , walk or sit on any fence,
   wall or embankment, or stand, slide, sit or roll upon any slope
   of the parks.
      Fifteenth. No person shall set up any booth, table or stand
   for the sale of any article whatever, without the consent of the
   chief of the department of public works, previously obtained in
   writing.
     Sixteenth. When carriages or equestrians meet, the parties
   respectively shall keep to the right as the law of the road.
     Seventeenth. No person shall drive any vehicle displaying any
   placard or advertisement of any kind along any road or avenue
   in the parks, nor shall any person display any placards or
   advertisements of any kind, or post or fix any notice or bill or
   other writing or printing of any kind on any tree, lamp- post,
   hydrant, curbstone, coping, flagstone, fence, wall, building or
   other place within the parks.
      Eighteenth. No benches or seats shall at any time be removed
         33
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        July 27, 1893   or changed from their places in the parks, except by the order
                        first obtained of the superintendent.
                           Nineteenth. Bicycles and tricycles shall be restricted to the
                        use of the roadways, and be controlled by the same law which
                        governs horses, vehicles and equestrians, and must pass to the
                        right, when meeting the same or each other. When passing a
                        carriage or equestrian from the rear to the front, it must be done
                        to the left side and at a moderate rate of speed.     Bicycles and
                        tricycles must not travel more than two abreast.
                           Twentieth. All racing with horses, vehicles, tricycles and
                        bicycles is prohibited at any time, and bicycles and tricycles
                        must not be driven or propelled at greater speed than eight
                        miles per hour.
          Ibid. ¿ 2.          6. Any violation of any of the foregoing rules shall subject
      Penalty.             the party so offending to a fine of twenty-five dollars, to be col-
                           lected by summary process .
       Ang. 28, 1871, @ 1.    7. The citizens of the Sixth and Fourteenth wards of the city
         Ô. B.3, 122 .     of Pittsburgh, residing in the vicinity of Bluff street, shall be
     Improvement           and are hereby authorized to enclose with a good substantial
     of part of Bluff
     street as a park fence a portion of Bluff street, from Gist to Magee street, as
      authorized.
                           follows, viz : Commencing at Gist street thirty feet south of the
                           northern curb line, and thence running by a line preserving the
                           same width to Magee street, said fence to be constructed with
                           openings at the street crossings, and at such other points as may
                           be deemed proper openings for the convenient access of foot
                           passengers. Said citizens shall be further authorized to lay off
                           the grounds south of said fence to the line of said street with
                           walks, and within said enclosure, and on the outside thereof, to
                           plant trees and shrubbery, erect fountains and make other im-
                          provements thereon suitable for a public promenade : Provided,
                           That no trees or other improvements shall be placed upon said
                           street within a distance of twenty feet from the north curb line
                           of said street.
          Ibid. § 2.          8. Said improvements shall be made and maintained at the
     City not liable expense of the parties making the same, and the city shall not
     for expense .         be liable for any expense contracted for or on account of the
                           same.
          Ibid . 3.           9. Said city reserves the right to direct the grading and pav-
     City may grade ing of said street at any time hereafter, without compensation
     and pave.             for the improvement which may be made thereon as fully as if
                           this ordinance had not been adopted.
          Ibid. 24.           10. Said improvements and the maintenance and care of the
                           same shall be under the charge of such persons as may be se-
                           lected by subscribers to the fund for making the same.
          Ibid. 25.           11. It shall be unlawful for any person to injure or destroy
     Penalty for in- any fence, trees, shrubbery or other improvement upon said
     juring
     ments. improve ground ; and if any person shall wilfully injure or destroy the
                           same, or any part thereof, he or she shall forfeit and pay the
                           sum of ten dollars, in addition to a sum sufficient to repair or
                          replace the damage, to be recovered by action in the name of the
                           city of Pittsburgh, or by summary conviction before the mayor
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   or any alderman of said city, and the sum so recovered shall be Aug. 28, 1871 .
   paid to the person having charge of said improvements, to be
   expended upon the same.
       12. The superintendent of the water works shall be author-           Ibid . 26.
   ized to direct a supply of water, free of charge, for not more Supply of water
   than two fountains upon said ground at all reasonable times tains   for two     foun-
                                                                              authorized.
   and to reasonable amounts, from the first day of April to the
   fifteenth day of October in each year: Provided, That said
   superintendent shall be authorized to prevent the unnecessary
   waste of water, and to prohibit its use during times of short
   supply.
      13. WHEREAS, The public market-house on Second street is Sept.      O. B.27,     1xi8.
                                                                                  2, 125,
   of no benefit to the city ;
      And whereas, The heirs and legal representatives of the es- Preamble.
   tate of James O'Hara have, by deed dated the seventeenth day
   of May, one thousand eight hundred and twenty, and on the
   ninth of August, one thousand eight hundred and fifty-eight,
   consented that the ground dedicated by the late James O'Hara,
   on Second between Ross and Grant streets, may be used as a
   public square or area ; therefore,
      14. Be it ordained, &c. , That all that portion of Second street     Ibid. § 1 ,
   extending from Grant to Ross street, and used for the purpose second street
   of a market house, be and the same is hereby devoted to the made    market a topark.be
   purpose of a public park, to be ornamented in such manner as
   shall be directed by the mayor of the city and members of coun-
   cils for the time being of the Second ward, who are hereby Rules.
   authorized to adopt such rules for the same as may, in their
   judgment, be proper, and to keep the same posted on the gate-
   posts thereof      Provided, The whole expense of removing the Proviso.
   market-house and of constructing said public park and keeping
   the same in repair, shall be provided by voluntary subscription,
   and shall in no case be a charge on the city treasury.
      15. Any person that shall injure or destroy any tree, shrub         Ibid. 12.
   or any other thing within said park, or the wall or fence that Penalty for
   may surround it, shall, upon conviction before the mayor, be injuries.
   fined a sum not exceeding five dollars, in addition to the
   amount necessary to repair any injury so done, to be recovered
    as like penalties are by law recoverable .
       16. It shall be lawful to erect within the said area or park        Ibid. § 3.
   one or more fountains , to be supplied from the public water pipes Fountains.
    without any charge for the use of the water.
       17. Before the work necessary for said improvement shall be        Ibid. § 4.
    commenced, the mayor and members of councils from the
    Second ward shall meet at the mayor's office and choose from
    among themselves one president, one secretary, and one treas-
    urer, and shall proceed to agree upon a plan of the work, &c.
       18. For the purpose of constructing and maintaining a public sept O.. B.
                                                                             14 , 7,1889
                                                                                      131.§ 1.
    park, there shall be and is hereby set aside, dedicated and appro-
    priated so much of the ground belonging to said city as is not Dedication
                                                                       Herron Hillof
    indispensably necessary for the safe and proper use of the reser- Park,
    voir known as the Herron Hill Reservoir.
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    Sept. 14, 1889, 22.   19. The chief of the department of public works of said city
    Improvement. be and he is hereby authorized and directed to improve all said
                        ground lying around, adjacent to and connected with said reser-
                        voir, and which shall not be found actually necessary for the
                        operation of said reservoir, to be used and enjoyed as a public
                        park, to be known as and by the name of the " Herron Hill
                        Park. "
     Sept. 16, 1889, 1.   20. For the purpose of constructing and maintaining a public
    Dedication of  park, there shall be and is hereby set aside, dedicated and appro-
    Highland Park. priated so much of the ground belonging to said city as is not
                   indispensably necessary for the safe and proper use of the
                   reservoirs known as the Highland Reservoirs .
        Ibid. § 2.
                      21. The chief of the department of public works of said city
    Improvements. be and he is hereby authorized and directed to improve all said
                   ground lying around, adjacent to and connected with said reser-
                   voirs or which may be added thereto, and which shall not be
                   found actually necessary for the operation of said reservoirs, to
                   be used and enjoyed as a public park, to be known as and by
                   the name of " Highland Park. "


                                      BUREAU OF CITY PROPERTY.

     Dec. 17, 1887, 218.    1. There shall be and is hereby created a bureau to be known
        O. B. 6, 227.
                         as the bureau of city property, the head of which shall be known
    Bureau created . as superintendent of city property, and who shall receive the sum
    Title of head.       of one hundred and fifty dollars per month as his compensation.
    Salary.              The duties of this bureau shall be to take charge of all public
    Duties.              property belonging to said city not otherwise conferred upon
                         some other department, including markets, city buildings,
                         wharves, and such other property of the city as is not specially
    Clerk.               conferred elsewhere : Provided, That the chief clerk of this bureau
                         shall act as clerk of the Diamond markets without extra com-
                         pensation.
     Feb. 28 1890, @ 1.     2. From and after the date of the passage of this ordinance,
       O. B. 7, 321.
                         the salary of the clerk to the bureau of city property ( who also
                 city of acts as clerk of markets ) shall be and is hereby fixed at fifteen
    Salary ofofclerk
    bureau
    property.            hundred dollars per annum , and the said clerk to the bureau of
                         city property shall receive compensation for his services at the
                         rate of fifteen hundred dollars per annum from and after the
                         date of the approval or passage of this ordinance.
    City Code, 234, § 1.    3. If any person shall destroy or injure in any way whatso-
    Penalty for in- ever any public property within this city, he shall forfeit and
    juring.              pay for every such offense a fine of not less than ten dollars and
                         not exceeding fifty dollars, besides the amount of the costs and
    Proviso.             expenses of repairing the same : Provided, That when the injury
                         is accidental no further fine shall be imposed than the amount
                         of the cost and expense of repairing.
         Ibid . § 2.
                            4. It shall be the duty of every city officer to report to the
    City officers to controller any damage or injury which may be done to any
    report to con-
    trolier.             public property in his possession, that the same may be laid
